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          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                      GAINESVILLE DIVISION



UNITED STATES OF AMERICA,

v.                                      CASE NO. 1:13cr27-MW/GRJ

JESSECA RIDDELL WEDEKIND,

             Defendant.

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                    ACCEPTANCE OF PLEA OF GUILTY

       Pursuant to the Report and Recommendation of the United States Magistrate

Judge, ECF No. 107, to which there has been no timely objection, and subject to

this Court’s consideration of the plea agreement pursuant to Fed. R. Crim. P.

11(e)(2), the plea of Guilty of the Defendant to Count One of the Indictment

against her is hereby ACCEPTED.      All parties shall appear before the Court for

sentencing as directed.

       SO ORDERED on August 6, 2014.

                                           s/Mark E. Walker
                                           United States District Judge
